Case 3:97-cr-30089-SMY            Document 742 Filed 08/21/06            Page 1 of 2      Page ID
                                            #174



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

     UNITED STATES OF AMERICA,                       )
                                                     )
                     Plaintiff,                      )
                                                     )
             v.                                      )       CRIMINAL NO. 97-30089-WDS
                                                     )       CIVIL NO. 02-906-WDS
     DERRICK S. MITCHELL,                            )
                                                     )
                     Defendant.                      )


                                              ORDER

     STIEHL, District Judge:

             Before the Court is defendant/petitioner’s pro se motion for leave to file appeal out

     of time. Although this motion was filed under this criminal case number, it should have

     been filed in Mitchell v. United States, No. 92-906-WDS.

             In his motion, defendant/petitioner asserts that his counsel did not inform him of his

     right to appeal the denial of his habeas petition. The Court dismissed the habeas petition on

     January 2, 2003, finding that petitioner was procedurally barred from presenting his claim

     and, even if not barred, no issues presented entitled him to relief. (See Memorandum &

     Order, Doc. 3, p. 5).

             It is well settled that there is no constitutional right to counsel for post-conviction

     appellate proceedings, Pennsylvania v. Finley, 481 U.S. 551, 556-57 (1987). Therefore, the

     failure of appellate counsel to advise defendant/petitioner of his right to appeal does not rise

     to the level of a constitutional violation which would give rise to defendant/petitioner’s right
Case 3:97-cr-30089-SMY          Document 742 Filed 08/21/06           Page 2 of 2      Page ID
                                          #175



     to file a late notice of appeal. Id.1

             Accordingly, the Court DENIES defendant/petitioner’s motion to file late notice of

     appeal (Doc. 725).      The motions for appointment of counsel (Doc. 726) and for a status

     report (Doc. 730) are DENIED as moot. The Court DIRECTS the Clerk of the Court to

     file defendant/petitioner’s motions and this Order in the civil case number.

             IT IS SO ORDERED.

             DATED: August 21, 2006.



                                                   s/ WILLIAM D. STIEHL
                                                       DISTRICT JUDGE




             1
             The Court notes that Castellanos v. United States, 26 F.3d 717, 718 (7th Cir. 1984)
     does not apply to this case because this does not involve a direct appeal of his conviction.

                                                   2
